
ROY L. RICHTER, Judge,
dissenting.
I respectfully dissent.
*281On the Petition for Order of Protection filed by Respondent, she checked the box “Stalking” and defined the relationship as “provider/patient.” Section III of the Petition is titled “Location where domestic violence or stalking occurred;” Respondent wrote nothing in this section. Respondent went into more detail later in the Petition stating Appellant “harassed me and followed me from place to place.”
Section VI of the Petition states: “I am afraid of [Appellant] and there is an immediate and present danger of domestic violence to me or other good cause for an emergency temporary order of protection because: (describe).” In this section, Petitioner wrote: “[Appellant] has been following my vehicle around town, although I got a new car/plates. When he stops me, he wants to know why I don’t ‘talk’ to him or want to ‘be his friend.’ I live alone and he only approaches me in public when people aren’t around, and I feel uncomfortable because he won’t leave me alone and could easily harm due to our difference in age/ size.”
I agree that Appellant’s Points I, II and III may not be addressed as those issues raised were not preserved. I also agree that Appellant’s brief contains disturbing language. However, the Petitioner must not only plead, but prove her case before a full order of protection (which carries with it negative consequences for anyone named as a respondent) may be issued. Schwalm v. Schwalm, 217 S.W.3d 335, 337 (Mo. App. E.D. 2007). In this case, there is a failure of proof by Petitioner, and without sufficient evidence, a full order of protection cannot be entered. Perhaps it is the fault of the form provided by the court, which does not disclose the statutory requirements to constitute stalking or harassment. See Section 455.010.
A Petitioner must prove the allegation of stalking by preponderance of the evidence in order to obtain a full order of protection. McGrath v. Bowen, 192 S.W.3d 515, 517 (Mo. App. E.D. 2006); See Section 455.040.1. In proving the allegation of stalking, a plaintiff is required to do more than affirmatively assert that the conduct caused alarm. Schwalm, 217 S.W.3d at 337. The plaintiff, instead, must offer evidence that actually shows a defendant’s conduct caused a fear of danger of physical harm. Id. This Court has emphasized the importance of providing testimony specifically addressing a plaintiffs fear of physical harm. Id. An appellate court will reverse orders of protection based on stalking where there is no evidence of overt threats of physical harm and no evidence of physical confrontations. Lawyer v. Fino, 459 S.W.3d 528, 533 (Mo. App. S.D. 2015).
Respondent stated that “due to some things that [Appellant] shared about his personal life, I had reason to fear what kind of response a confrontational statement would have made.” Respondent did not elaborate on the basis for this fear, and made no mention of what type of response she feared. During cross-examination, Respondent merely stated that she “had reason to fear confrontation.” Appellant did not ask Respondent to elaborate on those reasons, and Respondent said nothing further during the hearing. Respondent’s Petition for Order of Protection stated she feels “uncomfortable because [Appellant] won’t leave me alone and could easily [cause] harm due to our difference in age [and] size.” However, Respondent did not provide any evidence of physical altercations or threatening behavior exhibited by Appellant. While the testimony noted Respondent was uncomfortable, this does not satisfy the statutory definition of “alarm,” which requires “fear of danger of physical harm.” Section 455.010(14)(a) (emphasis added). Further, Respondent’s conclusory statements expressing fear were unsup*282ported by additional testimony and failed to specifically mention any reason to fear physical harm. These are statutory requirements—there must be evidence presented to the Court to show a fear of danger of physical harm—to constitute stalking. That evidence is not present in this case.
Respondent further alleged harassment. Before a court can find harassment, there must be evidence to satisfy the requirements of Section 455.010(l)(d), which defines “harassment” as:
Engaging in a purposeful or knowing course of conduct involving more than one incident that alarms or causes distress to an adult or child and serves no legitimate purpose. The course of conduct must be such as would cause a reasonable adult or child to suffer substantial emotional distress and must actually cause substantial emotional distress to the petitioner .... (emphasis added).
Neither the Petition nor the presented testimony ever stated that Petitioner suffered substantial emotional distress.
I would remand this matter to the trial court for hearing to determine whether or not Petitioner feared she was in danger of physical harm or suffered substantial emotional distress. If the answer to those questions is “no,” an order of protection cannot be entered.
